                Case 1:20-cv-00708-CCC Document 22-1 Filed 06/09/20 Page 1 of 2


Eric Lee

From:                Robert Popper
Sent:                Monday, June 8, 2020 10:28 AM
To:                  Hangley, Michele D.; 'srodgers@goldsteinlp.com'; 'jgoldstein@goldsteinlp.com'; Eric Lee; Russell
                     Nobile; 'curriecoates@gmail.com'; 'Boland, Nicole J.'
Cc:                  Aronchick, Mark A.
Subject:             Re: Judicial Watch v. Commonwealth of Pennsylvania, No. 20-cv-00708 (M.D. Pa.) [IWOV-
                     HASP1.FID133928]



        Ms. Hangley and Mr. Aronchick,

        We oppose your motion. However, we do not oppose your filing a notice of support without
        argument.

        The problem for us is that even if the county defendants had timely filed a brief on May 26
        responding to the motion, they would not have had the opportunity to substantively respond to
        our brief filed that same day. If your clients file a brief now they can respond to our arguments
        and we will have no opportunity to answer. Your clients should not gain a positive advantage
        because they filed out of time.

        That said, we do not oppose your filing a one‐page notice of support for the motion.

        Sincerely,

        Robert D. Popper
        Judicial Watch, Inc.
        425 Third Street, SW
        Suite 800
        Washington, D.C. 20024
        (202) 646‐5173

        Home: (301) 530 5389




From: Hangley, Michele D. <mdh@hangley.com>
Sent: Sunday, June 7, 2020 8:53 PM
To: 'srodgers@goldsteinlp.com' <srodgers@goldsteinlp.com>; 'jgoldstein@goldsteinlp.com'
<jgoldstein@goldsteinlp.com>; Robert Popper <rpopper@JUDICIALWATCH.ORG>; Eric Lee
<elee@JUDICIALWATCH.ORG>; Russell Nobile <rnobile@judicialwatch.org>; 'curriecoates@gmail.com'
<curriecoates@gmail.com>; 'Boland, Nicole J.' <nboland@attorneygeneral.gov>
Cc: Aronchick, Mark A. <maa@hangley.com>
Subject: Judicial Watch v. Commonwealth of Pennsylvania, No. 20‐cv‐00708 (M.D. Pa.) [IWOV‐HASP1.FID133928]

Counsel,


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Mark Aronchick and I have just been retained to represent the Bucks County, Chester County, and Delaware County
defendants in this lawsuit. We will enter an appearance this week.

We intend to file a Motion for Leave to file a Memorandum of Law in support of the Motion to Intervene of Common
Cause and League of Women Voters. (Leave of court is necessary because the time period for responding to the Motion
to Intervene has passed.) Would you please let me know if you concur with our filing the Motion?

Please let me know if you have any questions.

Thank you,

Michele D. Hangley
Hangley Aronchick Segal Pudlin & Schiller
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Philadelphia, PA 19103
215-496-7061 (direct)
215-568-0300 (fax)
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